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 8                                       UNITED STATES DISTRICT COURT
 9
                                   NORTHERN DISTRICT OF CALIFORNIA
10

11    GARY BRUCKNER,                                   ) Case No. 5:20-cv-07458
                                                       )
12                          Plaintiff,                 )
                                                       )
13                                                     ) NOTICE OF VOLUNTARY
                      vs.                              ) DISMISSAL
14                                                     )
      SUNWORKS, INC., CHARLES CARGILE,                 )
15    DANIEL GROSS, RHONE RESCH, JUDITH                )
      HALL, and STANLEY SPEER,                         )
16                                                     )
                                                       )
                              Defendants.              )
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21          PLEASE TAKE NOTICE that, pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i),
22
     plaintiff Gary Bruckner (“Plaintiff”) voluntarily dismisses the claims in the captioned action (the
23
     “Action”) without prejudice. Because this notice of dismissal is being filed with the Court before
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     service by defendants of either an answer or a motion for summary judgment, Plaintiff’s dismissal of
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26 the Action is effective upon the filing of this notice.

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                                         NOTICE OF VOLUNTARY DISMISSAL
     Dated: January 15, 2021                  WEISSLAW LLP
 1
                                              Joel E. Elkins
 2
                                              By: /s/ Joel E. Elkins
 3
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                                                      -and-
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                               NOTICE OF VOLUNTARY DISMISSAL
